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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-LY
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )


           DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
                  REPLY IN SUPPORT OF MOTION TO STRIKE
              PLAINTIFFS’ SECOND SUMMARY JUDGMENT MOTION

        Plaintiffs do not dispute either of the two bases of Grande’s Motion to Strike: (1) the

filing of multiple summary judgment motions is disfavored in this District; and (2) every issue

raised in Plaintiffs’ second summary judgment motion could have been raised in Plaintiffs’ first

summary judgment motion, filed little over a month prior. Plaintiffs’ cross-motion is simply

calculated to give Plaintiffs the “last word” in summary judgment briefing—indeed, Plaintiffs

admit that their cross-motion is a mirror image of Grande’s motion in every respect. If this were

permissible, virtually every litigant would be incentivized to respond to a motion for a summary

judgment with its own cross-motion.

       Grande respectfully submits that it cannot be the Court’s intention to encourage such

tactics—particularly where, as here, the party filing the cross-motion has already filed a separate

motion for summary judgment. Plaintiffs’ tactics are especially inappropriate given the broader

circumstances, with Plaintiffs having responded to Grande’s summary judgment motion with the

untimely production of thousands of additional pages of documents (see ECF No. 156, 189) as




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well as declarations from individuals never identified during the fact discovery period. Grande

cannot be expected to sit idly by as Plaintiffs repeatedly attempt to back-fill their case with

evidence not produced or identified during fact discovery, and attempt to distract from their

failures of proof with procedurally improper summary judgment practice.1 See also Grande’s

Motion to Strike “Rebuttal” Expert Report (ECF No. 176).

       For the foregoing reasons, the Court should grant this Motion and strike the request for

summary judgment in Plaintiffs’ Opposition to Grande’s Motion for Summary Judgment, and

Cross-Motion for Summary Judgment as to Liability (ECF No. 172).




1 Plaintiffs’ meritless claims about the substance of Grande’s motion for summary judgment are
irrelevant to the issue before the Court. Grande’s motion speaks for itself.


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Dated: September 26, 2018


                                          By: /s/ Richard L. Brophy
                                              Richard L. Brophy
                                              Zachary C. Howenstine
                                              Margaret R. Szewczyk
                                              ARMSTRONG TEASDALE LLP
                                              7700 Forsyth Blvd., Suite 1800
                                              St. Louis, Missouri 63105
                                              Telephone: 314.621.5070
                                              Fax: 314.621.5065
                                              rbrophy@armstrongteasdale.com
                                              zhowenstine@armstrongteasdale.com
                                              mszewczyk@armstrongteasdale.com

                                              J. Stephen Ravel
                                              Texas State Bar No. 16584975
                                              J.R. Johnson
                                              Texas State Bar No. 24070000
                                              Diana L. Nichols
                                              Texas State Bar No. 00784682
                                              KELLY HART & HALLMAN LLP
                                              303 Colorado, Suite 2000
                                              Austin, Texas 78701
                                              Telephone: 512.495.6429
                                              Fax: 512.495.6401
                                              Email: steve.ravel@kellyhart.com
                                                      jr.johnson@kellyhart.com
                                                      diana.nichols@kellyhart.com

                                              Attorneys for Defendant GRANDE
                                              COMMUNICATIONS NETWORKS LLC




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 26, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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